                     IN THE UNITED STATES DISTRICT COURT


                            FOR THE DISTRICT OF ALASKA



 TOMMY PETER,                                ) Case No. 3:09-cv-OOI28 TMB
                                             )
               Plaintiff,                    )
                                             )
        v.                                   )
                                             ) ORDER GRANTING
 UNITED STATES OF AMERICA,                   ) STIPULATION TO DISMISS
                                             )
               Defendants.                   )
                                             )

-------------)
       Based upon the stipulation of the parties, it is ORDERED that all claims asserted

or that could have been asserted by plaintiff in this action are dismissed with prejudice,

each side to bear its own costs, expenses, and attorney fees.




Dated: July 20, 2012                             s/TIMOTHY M. BURGESS
                                                  Timothy M. Burgess
                                                  U.S. District Court Judge




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